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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                             BUTTE DIVISION

UNITED STATES OF AMERICA,                          CR 19–21–BU–DLC

                     Plaintiff,

vs.                                                       ORDER

 CHRISTOPHER FULCO,

                      Defendant.

      Before the Court is Defendant Christopher Fulco’s Unopposed Motion to

Submit Letters of Support Past Due. (Doc. 40.) Because the proposed submission

would come less than a week late, and in view of the government’s lack of

objection,

      IT IS ORDERED that the motion (Doc. 40) is GRANTED. Fulco shall

submit his four additional letters of support on or before November 4, 2020.

      DATED this 2nd of November, 2020.




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